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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                    )    Chapter 11
In re:                                              )
                                                    )    Case No. 18-10512 (CSS)
                        1
Zohar III, Corp., et al.,                           )
                                                    )    Jointly Administered
                                   Debtors.         )
                                                    )    Hearing Date: November 13, 2018 at 11:00 a.m. (ET)
                                                    )
                                                    )    Ref. Docket Nos. 356 & 502


               DECLARATION OF MICHAEL KATZENSTEIN IN SUPPORT OF
                  THE DEBTORS’ REPLY TO PATRIARCH’S OBJECTION
                 TO THE DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                    AUTHORIZING THE USE OF CASH COLLATERAL

         I, Michael Katzenstein, declare under penalty of perjury that:

         1.        I submit this declaration in support of the Debtors’ Reply to Patriarch’s Objection

to the Debtors’ Motion for Entry of an Order Authorizing the Use of Cash Collateral (the

“Reply”) and all capitalized terms that are used but not defined herein have the meaning ascribed

to them in the Reply.

         2.        I am the Chief Restructuring Officer (“CRO”) of the Debtors. I was retained by

Joseph J. Farnan, Jr., the Debtors’ sole independent director, effective as of May 21, 2018.

         3.        In addition to serving as CRO, I am a Senior Managing Director of FTI

Consulting, Inc. (“FTI”). I have over 30 years of transaction, financial, operating, and mergers

and acquisitions experience. I have served as a CRO, interim chief executive officer, chief

operating officer or on-site advisor to debtors and other parties in interest in numerous


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   The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as
follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar
III, Limited (9261) (“Zohar III”), Zohar II 2005-1, Limited (8297) (“Zohar II”), and Zohar CDO 2003-1,
Limited (5119) (“Zohar I”). The Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New
York, NY 10036.
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restructuring and bankruptcy engagements, including SFX Entertainment; Quirky; Digital

Domain; Open Range; GSI Group; CTC Communications; Birch Telecom; VarTec Telecom;

Pac-West Telecomm; Pacific USA; Pacific Crossing; PT Cable; Centerpoint Broadband

Technologies; PR Wireless; Global Photon and OpTel. I have also served as a board member or

chairman of the board of directors in a variety of businesses in both bankruptcy and non-

bankruptcy contexts, including at Caribbean Asset Holdings (cable television, ILEC and wireless

operator), RCN (broadband services provider), the Sun-Times Media Group (newspapers) and

GSI Group (photonic-based equipment and systems manufacturer and seller). I have also

assembled a team of seasoned professionals at FTI to support me in my role as CRO.

       4.      The principal creditor constituents in these cases entered into a Settlement

Agreement, following a successful mediation before the Honorable Kevin Gross that took place

in April 2018. Prior to undertaking the position as CRO, I reviewed and became familiar with

the Settlement Agreement. This Settlement Agreement has guided the Independent Director and

me in performing our responsibilities.

       5.      One of the requirements of the Settlement Agreement is that the Debtors engage

in cash collateral negotiations with their secured creditors. The Debtors need cash to fund their

operations; and like in many chapter 11 cases, these Debtors do not have access to

unencumbered collateral to provide that funding. The only obligation placed on the Debtors in

the Settlement Agreement with respect to the use of cash collateral is to prepare “customary

bankruptcy case budgets, including anticipated sources and uses of cash (including payments

from the Group A Portfolio Companies).” In my experience, in any Chapter 11 case a budget is

a fundamental element to obtaining consent to use cash collateral.




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       6.      The professionals that I am supervising in these cases and I have prepared cash

collateral budgets in numerous bankruptcy cases. To fulfil the cash collateral requirements of

the Settlement Agreement (and these cases), shortly after my appointment, the Debtors’

professionals and I set out to determine the Debtors’ cash needs in these chapter 11 cases in light

of the Debtors’ mandate under the Settlement Agreement and proceeded to develop a budget for

the chapter 11 cases. I believe that the process to prepare the Budget was appropriate and

reasonable and resulted in a case budget (which has been updated on a rolling basis) that is also

reasonable. The case budget takes into account anticipated receipts—primarily interest and

principal payments from the various loans held by the Debtors—and projected expenditures.

These projected expenditures are primarily the expenses and compensation of the Debtors’

Independent Director, their two chief officers, and their professionals, as well as the adequate

protection payments discussed below. I believe that the Budget was constructed to account for

the various professional services that the Debtors require to fulfil their mandate under the

Settlement Agreement and that the amounts used are reasonable. Moreover, the Debtors have

generally performed within, and mostly under, budget with respect to their own expenses.

       7.      Like many chapter 11 cases, the Debtors are proposing certain variances, reserves

and a Carve-Out to be permitted under the cash collateral order. First, the Debtors’ right to use

cash collateral must take into account the fact that unanticipated events may result in significant

deviations from forecasted expenses. In my experience, actual expenditures in chapter 11 cases

regularly vary from projected amounts as a result of unexpected events and unplanned

contingencies that arise in chapter 11 cases. Accordingly, I think it is prudent in these cases, as

well as a regular practice in chapter 11 cases, to permit variances within the case budget. Here,

the variances are 25% or $750,000 per month. In my professional experience, I think the



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proposed variances are reasonable in light of the fact that the Debtors have complicated inter-

creditor and inter-estate relationships and the Debtors’ assets consist of interests in many

different operating businesses. Moreover, there have been variations in the level of professional

fees in these cases and the proposed variances will protect against triggering budget defaults

precipitated by the unknown. As noted above, the Debtors’ professionals, who account for the

Debtors’ primary expenditures under the Budget, have operated responsibly during these cases

and have been mostly under-budget. Second, the Debtors are proposing to establish various

reserves to ensure that appropriate funding is available for approximately 13-weeks of case

expenses plus reserves, including a $1.5 million Indemnification Reserve to account for potential

D&O litigation. Given the nature of the Debtors’ regular revenue stream (interest payments

made to Zohar II and Zohar III once per quarter derived from entities over which the Debtors

have no control), and the fact that the Independent Director and CRO likely have no ability to

generate new funding sources, the Debtors must ensure that they have appropriate reserves to

account for any lapse, delay, or cessation in funding. The reserves and Carve-Out contemplated

under the Cash Collateral Order do that. Again, for these cases to succeed and for the Debtors to

monetize the value of their assets for stakeholder recovery, the Debtors must be appropriately

financed to conduct these cases.

       8.      In addition to promptly beginning the process of developing the Budget, I also

requested that counsel to the Debtors engage with the Senior Secured Parties regarding the use of

cash collateral. I believe that it was logical to start with this group because they were both senior

in priority of payment and the largest claim holders in these cases. After that, I intended for the

Debtors to engage with Patriarch, as junior claim holder, on cash collateral negotiations. This is

typically how cash collateral negotiations take place. Primarily through counsel, acting at my



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direction, but also on a direct principal-to-principal basis, the Debtors and the Senior Secured

Parties engaged in hard-fought negotiations over several weeks this past summer to reach on July

24 a consensual agreement for the use of cash collateral. A guiding principle of the Debtors’

cash collateral negotiations was to preserve what the Debtors’ believe is one of the primary

elements of the Settlement Agreement, appointment of a new independent director, and his

selected CRO, that would be free from undue influence by any stakeholder in these cases, a

result that could have been frustrated by excessive lender-consent and control mechanisms and

hair-trigger remedy enforcement rights that exist in many Chapter 11 financing orders. The

Debtors successfully pared back a number of “typical” cash collateral provisions that the Senior

Secured Parties had insisted on, but that the Debtors believed were unacceptable and were either

expressly in conflict with the Settlement Agreement or contrary to the spirit of the Settlement

Agreement.

       9.      The July 24th Proposed Order includes many of elements of cash-collateral orders

that I have negotiated over the course of my career—including, an agreed budget and variance

testing, a carve-out, an adequate protection package, stipulations regarding prepetition debt, and

various defaults and remedies. However, many of the provisions were far-more borrower-

friendly than provisions that are often in cash collateral orders in other chapter 11 cases. This

includes: borrower-friendly variance percentages; maintaining a healthy cash reserve to provide

for 13 weeks plus of expenses; reserves for D&O indemnification; a Carve-Out that allows the

CRO and Independent Director to properly oversee the estates after an event of default; and

borrower-friendly events of defaults, which are tied to meet-and-confer obligations that limit

what is typically an ability to exercise remedies against collateral should a default occur on an

extremely expedited or immediate basis. These reflect substantial concessions from the Senior



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Secured Parties and are much more favorable than those in many other chapter 11 cases. Each of

these concessions was achieved through dogged negotiation by the Debtors over the months of

June and July 2018.

       10.     Of note and consistent with the principles guiding the Debtors’ cash collateral

negotiations, I believe that the July 24th Proposed Order vests the Independent Director and the

CRO with enough financial lee-way to adequately discharge their duties without being subject to

the whims or control of any financial party in these chapter 11 cases.

       11.     The Indenture Trustee, for the benefit of the noteholders, and the noteholders are

receiving forms of protection similar to what is provided to secured lenders in other cases. First,

the Indenture Trustee, for the benefit of the noteholders, is receiving an adequate protection

package—payment of fees, replacement liens and superpriority claims, and, subject to fund

availability, payment of interest and principal—that are common in many chapter 11 cases but,

in these instances, respect and preserve the borrower-friendly concessions noted above, including

the reserves and Carve-Out. The cash collateral order also includes narrow stipulations that I

believe are consistent with the intent and spirit of the Settlement Agreement and recognize the

Debtors’ CLO structure, the indebtedness issued thereunder, and the liens securing that

indebtedness. These stipulations are more narrow than stipulations customarily granted in cash

collateral orders and are accompanied by a confirmatory “challenge period” that will expire,

should the court grant the relief requested, on the date that is 90 days after the hearing, which

will be approximately 11 months after the Petition Date. Finally, rather than include broad

releases and indemnities in favor of the Indenture Trustee and noteholders, the proposed cash

collateral order provides only for findings regarding their good faith and lack of control over the




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Debtors, and providing indemnity with respect to, matters related to the negotiation and entry of

the cash collateral order.

       12.     Under the cash collateral order, the Debtors will be authorized to make certain

adequate protection payments to or at the direction of the Indenture Trustee, for the benefit of the

noteholders. I think the amounts proposed to be paid are fair and reasonable. Such amounts will

be paid out of proceeds of the Indenture Trustee’s collateral and will not diminish the other

protections provided to the Debtors, nor will they impact the variance testing of the Budget.

Notable among the adequate protection payments are the payment of interest and the ability to

declare a Special Payment Date, subject to prior funding of the amounts set forth in the Budget.

These are particularly important in the context of these cases and the Settlement Agreement as

those payments will help to actually put money in the hands of the Class A noteholders and help

to realize the Paid In Full amounts contemplated under the Settlement Agreement.

       13.     I believe that at all times the Debtors, the Senior Secured Parties, and the

Indenture Trustee acted in good-faith and at arms’-length with the advice of competent and able

counsel. I do not believe that the cash collateral order was the result of undue influence by any

party, and particularly any undue influence or leverage over the Debtors. In fact, many of the

provisions are far more favorable to the Debtors than I think could have been achieved in a more

“traditional” chapter 11 case.

       14.     Overall, I believe that the terms set forth in the July 24th Proposed Order and the

Revised Order are fair and reasonable and supported by sound business judgment. I think it

fairly balances the needs of the Debtors to obtain the funding necessary to conduct their chapter

11 cases and affords the Indenture Trustee (for the benefit of all the noteholders) an appropriate

level of adequate protection for its secured interest.



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       15.     Once the Debtors and the Senior Secured Parties came to agreement on the terms

for consensual cash collateral usage on July 24, 2018, the Debtors engaged Patriarch to address

the terms on which consensual cash collateral usage could be achieved among the Debtors, the

Indenture Trustee, and the noteholders (both the Senior Secured Parties and the Patriarch).

Unfortunately, since that time, Patriarch’s objections could not be consensually resolved nor was

a mediated outcome reached.

       16.     At my direction, the Debtors have requested, and the Senior Secured Parties and

the Indenture Trustee have agreed to, even further borrower-friendly concessions, as reflected in

the Revised Order. I believe that this further reflects the good faith of these parties.

       I declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury, that the foregoing is

true and correct to the best of my information, knowledge and belief.

Dated: November 9, 2018

                                                          /s/ Michael Katzenstein
                                                          Michael Katzenstein
                                                          Chief Restructuring Officer




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